     Case 2:13-cr-06070-SAB           ECF No. 15   filed 12/09/13   PageID.28   Page 1 of 2




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 4                          UNITED STATES DISTRICT COURT
 5                        FOR THE DISTRICT OF WASHINGTON
 6
 7 UNITED STATES OF AMERICA                          No. 13-MJ-4363-JPH-1

 8                       Plaintiff,                ORDER GRANTING THE UNITED
 9                                                 STATES’ MOTION FOR
     vs.                                           DETENTION
10
11 KENNY ROWELL,                                   MOTION GRANTED
                                                   (ECF No. 4)
12
                         Defendant.
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14         On December 9, 2013, the Court heard the United States’ motion for
15   detention. (ECF No. 4) Defendant was present and in custody, and appeared with
16   Assistant Federal Defender Rebecca Pennell. The United States was represented
17   by Assistant United States Attorney Alexander Ekstrom.
18         The court considered the Pretrial Services Report as well as comments and
19   proffers of the parties.
20         The court finds by clear and convincing evidence that there is presently no
21   condition or combination of conditions that reasonably assure the safety of the
22   community or other persons, or reasonably assure the defendant’s appearance for
23   further proceedings, and therefore
24         IT IS ORDERED:
25         1.     Defendant shall be detained pending disposition of this case or until
26   further order of the court.        Defendant may petition this Court to reopen the
27   detention issue by written motion to amend and request for hearing, served upon
28   the United States Attorney.

     ORDER GRANTING THE UNITED STATES MOTION FOR DETENTION - 1
     Case 2:13-cr-06070-SAB       ECF No. 15   filed 12/09/13   PageID.29   Page 2 of 2




 1         2.    Defendant is committed to the custody of the U.S. Marshal for
 2   confinement separate, to the extent practicable, from persons awaiting or serving
 3   sentences or being held in custody pending appeal.
 4         3.    Defendant shall be afforded reasonable opportunity for private
 5   consultation with counsel.
 6         4.    A party seeking review of this Order pursuant to 18 U.S.C. § 3145(b)
 7   shall file a written motion for revocation or amendment of this Order within ten
 8   (10) days before the district judge to whom this case is assigned and note it for
 9   hearing at the earliest possible date. Both parties are responsible to ensure the
10   motion is determined promptly.
11         DATED December 9, 2013.
12
13                                _____________________________________
                                            JOHN T. RODGERS
14                                 UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING THE UNITED STATES MOTION FOR DETENTION - 2
